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                          IN THE UNITED STATES DISTRICT COURT                       11/03/2017

                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                            CASE NO. 3:17-CV-00072
                                 Plaintiffs,
  v.                                                  ORDER
  JASON KESSLER, ET AL.,
                                                      JUDGE NORMAN K. MOON
                                 Defendants.



        This matter is before the Court on Plaintiffs’ motion for pro hac vice admission of

 Roberta A. Kaplan, Esq. (Dkt. 66). It appearing that Ms. Kaplan is licensed to practice law and

 is a bar member in good standing with the State of New York and thus qualified to appear for

 and on behalf of the Plaintiffs in this Action, Plaintiff’s motion is GRANTED.

        It is hereby ORDERED that attorney Roberta A. Kaplan of Kaplan & Company, LLP

 shall be permitted to appear pro hac vice for and on behalf of Plaintiffs in the above styled and

 numbered Civil Action, and able to appear at hearings or trials in the absence of an associated

 member of the bar of this Court. The Clerk of the Court is hereby directed to send a certified

 copy of this Order to Plaintiff, Defendants, and all counsel of record.

        Entered this _____
                      3rd day of November, 2017.
